Case 2:96-cV-02520-.]PI\/| Document 825 Filed 04/21/05 Page 1 of 3 Page|D 1040

IN THE UNITED sTATEs DISTRICT COURT ,_.H_ £U{p

FoR THE wEsTERN DISTRICT oF TENNESSEE '“"` ~
wESTERN DIVISION _ m _ _ _

US,H.PF\ 2[ Pti bL i._

ROEHN`H.D§`“”WO
CLEHK,UB.DE\.CI
W.D. OF TN, M[:¢v‘lPHFS

DARIUS D. LITTLE,
Plaintiff,
v.

NO. 96-2520 Ml/P

SHELBY COUNTY, TENNESSEE,
et al.,

Defendants.

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ORDER DIRECTING CLERK TO DISBURSE FUNDS

 

The Assistant to the Special Master in this case, Wanda J.
Kilgore~Schneider, has submitted an invoice for fees and expenses
incurred in connection with this matter for the month of August,
2003, in the amount of $5,511.11. Accordingly, the Clerk of
Court is directed to send the sum of $5,511.11 to the Assistant
Special Master, Wanda J. Kilgore-Schneider at, 65 Sunhaven Drive,

Jackson, Tennessee, 38305.

IT IS SO ORDERED THIS gi DAY OF April, 2005.

@M“@/tt

J N P. MCCALLA
ITED S'I'ATES DISTRICT JUDGE

 

This document entered nn the docket sheet ln compliance 555
with Rule 53 and/or maj r-RCP en 4'&'05

   

UNIED STATESDISTRIC COURT - WESRTE DITRICT o TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 825 in
case 2:96-CV-02520 Was distributed by faX, mail, or direct printing on
Apri122, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

